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 6                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 7                                       AT SEATTLE

 8                                            )
     AMANUEL GEBRESELASSIE,                   )          No.
 9                                            )
                               Plaintiff,     )
10                                            )          King County Superior Court
                 vs.                          )          Cause No. 12-2-27333-2SEA
11                                            )
     BRETT SCHOENBERG, CASEY STEIGER, )                  NOTICE TO PLAINTIFF OF REMOVAL
12   BRIAN BLASÉ, MATHEW BLACKBURN, )                    OF ACTION TO UNITED STATES
     ADAM JULIS, individuals, and THE CITY OF )          DISTRICT COURT
13   SEATTLE, a municipal corporation,        )
                                              )
14                             Defendants.    )
                                              )
15
     TO:    AMANUEL GEBRESELASSIE, PLAINTIFF: and
16   TO:    JAMES EGAN AND CLEVELAND STOCKMEYER, ATTORNEY FOR PLAINTIFF:

17          YOU ARE HEREBY NOTIFIED that on the 17th day of September, 2012, defendants

18   filed with the United States District Court for the Western District of Washington at Seattle their

19   Notice of Removal of the action brought in the Superior Court of Washington for King County,

20   Cause No. 12-2-27333-2SEA.

21          Defendants thereafter filed a copy of the Notice of Removal with the Clerk of the King

22   County Superior Court.

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     NOTICE TO PLAINTIFF OF REMOVAL OF ACTION                                         PETER S. HOLMES
                                                                                      Seattle City Attorney
     TO UNITED STATES DISTRICT COURT - 1                                              600 Fourth Avenue, 4th Floor
                                                                                      P.O. Box 94769
                                                                                      Seattle, WA 98124-4769
                                                                                      (206) 684-8200
              Case 2:12-cv-01580-MAT Document 3 Filed 09/17/12 Page 2 of 2




 1          A copy of the Notice of Removal, Verification of State Court Records, and the Notice to

 2   Superior Court of Removal are herewith served upon you.

 3                                              PETER S. HOLMES
                                                Seattle City Attorney
 4
                                         By:     s/ Dominique L. Jinhong
 5                                              Assistant City Attorney
                                                State Bar Number 28293
 6                                              Telephone: 206-8251
                                                E-mail: dominique.jinhong@seattle.gov
 7
                                         By:      s/ Sarah K. Morehead
 8                                              Assistant City Attorney
                                                State Bar Number 29680
 9                                              Telephone: (206) 233-2158
                                                E-mail: sarah.morehead@seattle.gov
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                                                Seattle City Attorney’s Office
11                                              600 Fourth Avenue, 4th Floor
                                                PO Box 94769
12                                              Seattle, WA 98124-4769
                                                Fax: (206) 684-8284
13
                                                Attorneys for Defendants
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     NOTICE TO PLAINTIFF OF REMOVAL OF ACTION                                     PETER S. HOLMES
                                                                                  Seattle City Attorney
     TO UNITED STATES DISTRICT COURT - 2                                          600 Fourth Avenue, 4th Floor
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